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1    Joshua Briones (SBN 205293)
     jbriones@mintz.com
2    E. Crystal Lopez (SBN 296297)
     eclopez@mintz.com
3    Matthew Novian (SBN 324144)
     mjnovian@mintz.com
4    MINTZ LEVIN COHN FERRIS GLOVSKY AND POPEO P.C.
     Century Plaza Towers 2029 Century Park East Suite 3100
5    Los Angeles, CA 90067
     Telephone: 310 586 3200
6    Facsimile: 310 586 3202
7    Attorneys for Defendant,
     EF EDUCATION FIRST, INC.
8
9                       UNITED STATES DISTRICT COURT
10                     CENTRAL DISTRICT OF CALIFORNIA
11

12
     SHANNON SENSIBAUGH, individually         Case No.: 2:20-cv-01068-MWF-PVC
13   and on behalf of all other similarly
                                              NOTICE OF MOTION AND
14   situated,
                                              MOTION TO STAY PENDING
15                           Plaintiff,       BARR V. AAPC
16        vs.                                 Hon. Michael W. Fitzgerald
17
     EF EDUCATION FIRST, INC.                 Date:       April 6, 2020
18
                                              Time:       10:00 a.m.
                             Defendant.
19                                            Dept:       Courtroom 5A
20
                                              Complaint Filed: February 2, 2020
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          NOTICE OF MOTION AND MOTION TO STAY PENDING BARR V. AAPC
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1         PLEASE TAKE NOTICE that on April 6, 2020 at 10:00 am, or as soon
2    thereafter as the matter may be heard in Courtroom 5A of the above-entitled court,
3    located at First Street Courthouse, 350 West First Street, Los Angeles, California
4    90012, Defendant EF Education First, Inc. (“EF”) by its attorneys, will move and
5    hereby moves, for an order staying Plaintiff’s case against EF until the Supreme
6    Court decides the constitutionality of the TCPA in Barr v. American Association of
7    Political Consultants Inc., 19-631 (Cert. Granted January 10, 2020). The Court
8    may issue this Order through its inherent power to manage the cases on its docket.
9          The Motion is based upon this Notice of Motion and Memorandum of Points
10   and Authorities in Support thereof, the reply to this Motion, the accompanying
11   Request for Judicial Notice and its exhibits, the Class Action Complaint, and upon
12   such oral argument as may be made at the hearing on this Motion.
13        This Motion is made following the conference of counsel pursuant to L.R. 7-3
14   which took place on February 20 & 21, 2020.
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16   Dated: February 28, 2020
17                                          Respectfully submitted,
18
                                            MINTZ LEVIN COHN FERRIS
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                                            GLOVSKY AND POPEO, P.C.
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                                            By: /s/ E. Crystal Lopez
21
                                               Joshua Briones
22                                             E. Crystal Lopez
                                               Matthew J. Novian
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24                                          Attorneys for Defendant EF Education
                                            First, Inc.
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          NOTICE OF MOTION AND MOTION TO STAY PENDING BARR V. AAPC
